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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                      )
           Plaintiff,                           )
                                                )
        vs.                                     )   CAUSE NO. 1:18-cr-0072-WTL-MJD
                                                )
 NORMAN BURGESS,                                )                         - 01
          Defendant.                            )



                  COURTROOM MINUTE FOR MARCH 14, 2018
              HONORABLE MARK J. DINSMORE, MAGISTRATE JUDGE

        The parties appeared for an initial appearance on the Indictment filed on March 13,

 2018. Defendant appeared in person and by FCD counsel William Dazey. Government

 represented by AUSA Jeff Preston for AUSA Tiffany Preston. USPO represented by Danieka

 Thompkins.

        Financial affidavit approved. Counsel appointed.

        Charges, rights and penalties were reviewed and explained.

        Parties were ordered to disclose evidence on or before March 28, 2018.

        Defendant waived formal arraignment and reading of the Indictment.

        Government did not seek pretrial detention and defendant ordered released.

        Government orally moved to unseal this cause of action and the same was granted.

        Defendant released on conditions of pretrial release pending further proceedings before

 the Court.



        Date: 14 MAR 2018
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